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 David C. Reymann (8495)
 Kade N. Olsen (17775)
 PARR BROWN GEE & LOVELESS, P.C.
 101 South 200 East, Suite 700
 Salt Lake City, UT 84111
 (801) 257-7939
 dreymann@parrbrown.com
 kolsen@parrbrown.com

 Steven P. Lehotsky*                              Todd Disher*
 Scott A. Keller*                                 Joshua P. Morrow*
 Jeremy Evan Maltz*                               Alexis Swartz*
 LEHOTSKY KELLER COHN LLP                         LEHOTSKY KELLER COHN LLP
 200 Massachusetts Avenue, NW                     408 W. 11th Street, 5th Floor
 Washington, DC 20001                             Austin, TX 78701
 (512) 693-8350                                   (512) 693-8350
 steve@lkcfirm.com                                todd@lkcfirm.com
 scott@lkcfirm.com                                josh@lkcfirm.com
 jeremy@lkcfirm.com                               alexis@lkcfirm.com
    *admitted pro hac vice

                            Attorneys for Plaintiff NetChoice, LLC

                      IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF UTAH

 NETCHOICE, LLC,
                                                PLAINTIFF’S OPPOSITION TO
 Plaintiff,                                     DEFENDANTS’ MOTION
 v.                                             FOR AMENDED BRIEFING SCHEDULE
                                                AND TO VACATE HEARING OR, IN
 SEAN D. REYES, in his official                 THE ALTERNATIVE, REQUEST FOR
 capacity as Attorney General of Utah,          SCHEDULING CONFERENCE
 KATHERINE HASS, in her official                    Case No. 2:23-cv-00911-DBB-CMR
 capacity as Director of the Division of
 Consumer Protection of the Utah                            Judge David Barlow
 Department of Commerce,
                                                   Magistrate Judge Cecilia M. Romero
 Defendants.
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       The Legislature has now postponed the effective date of the Utah Social Media Regulation

Act (“Act”) until October 1, 2024. But the Act is still the law, it is still set to take effect, and

Plaintiff NetChoice still needs preliminary injunctive relief on behalf of its members. This Court

should deny Defendants’ motion. Alternatively, if this Court’s schedule permits an extension of

the hearing date, then NetChoice does not oppose a modest, third extension for Defendants’

response of no more than 21 days.

       1.      Plaintiff’s motion for preliminary injunction has been pending for more than a

month. ECF No. 25. This Court has already twice extended the deadline for Defendants to file

their response. First, this Court sua sponte extended Defendants’ deadline to respond by about two

weeks. ECF No. 32. Soon after, NetChoice negotiated a stipulated motion that indefinitely delayed

Defendants’ deadline to answer the Complaint. ECF No. 33. NetChoice also stipulated to further

extend Defendants’ deadline to respond to the preliminary injunction motion. Id. This Court

granted that stipulation in part, ECF No. 34, giving Defendants a second extension that created the

current deadline of January 23, 2024.

       Ultimately, Defendants had 34 days to respond to Plaintiff’s motion for preliminary

injunction, more than double the time for their response under this Court’s local rules. DUCivR 7-

1(a)(4)(C)(iii). Defendants’ response is due tomorrow. Defendants presumably have been

diligently working to meet this Court’s deadline.

       2.      Yet Defendants now request an additional 83-day extension until April 15, 2024.

There is no good cause for such an extraordinary extension of time.

       As the Legislature was considering Senate Bill 89—the measure that has now passed,

postponing the Act’s effective date—Defendants conferred with NetChoice about extending



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Defendants’ briefing deadline. NetChoice rejected Defendants’ initial proposal to extend

Defendants’ response deadline to August 16, 2024. NetChoice informed Defendants that it would

be willing to discuss an extension, but only if and when the bill postponing the Act’s effective date

actually became law.

        The Act’s effective date has been postponed, but that does not eliminate the need for

injunctive relief for Plaintiff’s members. Defendants do not even dispute the prospect of

irreparable harm. See ECF No. 39 at 3-4. Rather, Defendants argue that the irreparable harm is not

“imminent,” and thus that “[t]here is no immediacy” to NetChoice’s request for preliminary

injunctive relief. Id. at 3.

        That argument has no merit. Irreparable harm is sufficiently “imminent” for purposes of

preliminary injunctive relief if “the harm is . . . ‘likely to occur before the district court rules on

the merits.’” Colorado v. EPA, 989 F.3d 874, 884 (10th Cir. 2021) (quoting New Mexico Dep’t of

Game & Fish v. United States Dep’t of the Interior, 854 F.3d 1236, 1250 (10th Cir. 2017)).

NetChoice’s members face a present choice between either incurring substantial unrecoverable

compliance costs or risking civil liability once the Act takes effect. The Act’s many requirements

are “costly and will require a significant amount of budget, resources and staff investment over

many months and possibly longer.” Yadegar Decl. ¶ 12; see Davis Decl. ¶ 60 (explaining that

company “may need to dedicate a team of engineers to [compliance] efforts for at least multiple

months if not longer”). To avoid enforcement efforts and civil penalties in October, compliance

efforts must begin now. See Davis Decl. ¶¶ 58-60; Yadegar Decl. ¶ 12. Because NetChoice’s

members must make that choice before this Court “rules on the merits,” the irreparable harm is

imminent enough for purposes of preliminary injunctive relief. Colorado, 989 F.3d at 884.



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Defendants are thus wrong to assert that NetChoice and its members “will not incur any alleged

harm until October.” ECF No. 39 at 2.

       Defendants’ contrary argument errs by conflating Article III injury-in-fact with irreparable

injury. Id. at 3; see, e.g., City of Los Angeles v. Lyons, 461 U.S. 95, 107 n.8 (1983) (discussing

“immedia[cy]” in the context of a “standing inquiry”). But Defendants do not dispute NetChoice’s

standing.

       This Court should address that imminent, irreparable harm by ruling on NetChoice’s

motion in the ordinary course according to the briefing schedule it set with input from both parties.

       3.      The postponement of the Act’s effective date does reduce the need for the Court to

rule by March 1, 2024, and the postponement also gives this Court more time to deliberate. It will

also allow for an orderly appellate process, if necessary, before October 1. But NetChoice’s

members still need certainty about their compliance obligations well before the Act takes effect.

And the postponement is no basis to again extend Defendants’ twice-extended deadline.

       Defendants say that there may be legislation to “repeal-and-replace” the Act. ECF No. 39

at 2. The prospect that the Legislature might pass some legislation at some point that has some

effect on this litigation is not enough to derail briefing that is well underway and set for hearing.

This legislation has not even been introduced. Its terms are not public knowledge. Nor are its

constitutional flaws or its overlap with the Act at issue here (if any). In any event, no one can make

any guarantees about the outcome or timing of the legislative process. In the meanwhile,

NetChoice’s members still face an active choice between incurring unrecoverable compliance

costs with an unconstitutional law or confronting potential enforcement actions when the Act takes

effect in October. Defendants’ speculation that they “anticipate” that the Legislature—an entirely



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separate branch of state government—“will likely amend or replace the Act,” id. (emphases

added), does nothing to remedy the imminent, irreparable harm that NetChoice’s members

currently face, and it should not affect this Court’s consideration of the Act.

        4.     Alternatively, if the Court desires an extension of the hearing date on NetChoice’s

motion for a preliminary injunction, then NetChoice is amenable to an extension of no more than

21 days for Defendants’ response, with a hearing date following NetChoice’s reply brief at a time

of the Court’s choosing.

                                          *       *      *

        This Court should deny Defendants’ request to extend Defendants’ response deadline to

April 15, 2024. NetChoice believes that no extension of Defendants’ January 23, 2024, deadline

is warranted. Nevertheless, if this Court’s schedule permits an extension of the hearing date, then

NetChoice does not oppose a modest, third extension for Defendants’ response of no more than 21

days.

RESPECTFULLY SUBMITTED this 22 day of January, 2024.

                                              PARR BROWN GEE & LOVELESS, P.C.
                                              /s/ David C. Reymann
                                              David C. Reymann
                                              Kade N. Olsen

                                              LEHOTSKY KELLER COHN LLP
                                              Steven P. Lehotsky*
                                              Scott A. Keller*
                                              Todd Disher*
                                              Jeremy Evan Maltz*
                                              Joshua P. Morrow*
                                              Alexis Swartz*

                                              *admitted pro hac vice

                                              Attorneys for Plaintiff NetChoice, LLC



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                                   Certificate of Service

       I, David C. Reymann, certify that on January 22, 2024, the foregoing was filed

electronically via the Court’s CM/ECF system:

                                                /s/ David C. Reymann
                                                David C. Reymann




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